             UNITED STATES  BANKRUPTCYDoc
                      Case 12-29986-LMI COURT, SOUTHERN
                                          26 Filed 10/17/12DISTRICT OF1 FLORIDA
                                                             Page 1 of
                                                     www.flsb.uscourts.gov
                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                              1st    Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                     Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)
DEBTOR: YUNEIVIS RIVAS          JOINT DEBTOR:                                             CASE NO.: 12-29986-LMI
Last Four Digits of SS# XXX-XX-5069 Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion
date, Debtor(s) to pay to the trustee for the period of 60 months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:
         A.    $ 152.31       for months 1         to 60 ;
         B.    $              for months           to       ;
         C.    $              for months           to       ; in order to pay the following creditors:

Administrative: Attorney's Fee - $ 3,350.00 ( includes $550 for Motion to Value) TOTAL PAID $1,800.00
              Balance Due $ 1,550.00 payable 77.50 /month (Months 1 to 20 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal
Property:
1.                                        Arrearage on Petition Date $
Address:                                     Arrears Payment $          /month (Months             to        )
                                             Regular Payment $         /month (Months            to        )
Account No:
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON
YOU PURSUANT TO BR 7004 and LR 3015-3.

 Secured Creditor             Description of         Interest   Plan Payments      Months of Payment      Total Plan Payments
                            Collateral and Value      Rate
                                of Collateral
         Chase               3576 West 74th Place                                                          Pro rata dividend will be
    P.O.Box 78420            Hialeah Gardens, FL                                                           calculated by the Trustee
                                    33018               %       $ 0.00               1   To     60           upon review of filed
  Phoenix, AZ 85062
                                 $140,299.00                                                                 claims after bar date.
 Account No.XXX-3043
                             Miami-Dade County
                              property Appraisal
Priority Creditors: [as defined in 11 U.S.C. §507]
1.                                  Total Due $
                                       Payable $                  /month (Months           to        ) Regular Payment $
2.                                  Total Due $
                                    Payable $                    /month (Months          to      ) Regular Payment $

Unsecured Creditors: Pay $ 59.58 /month (Months 1 to 20 ), $ 137.08/month (Months 21                              to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: Debtor will continue to pay the 1st mortgage to (Seterus Account No.XXX9752) on
property 3576 West 74th Place, Hialeah Gardens, FL 33018) outside of the plan

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Yuneivis Rivas
Debtor                                                                          Joint Debtor
Date: 10/17/2012                                                                Date:

LF-31 (rev. 06/02/08)
